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November 30, 2018

Honorable Paul G. Gardephe
United States District Judge
Thurgood Marshall
United States Courthouse
40 Foley Square, Courtroom: 705
New York, New York 10007

Re:    Donovan v. East Twelfth Street Tenants Housing Development Fund
       Corporation, No. 18-CV-06950
       Request for Pre-Motion Conference on Motion to Amend Pleadings

Dear Judge Gardephe:

        I represent Plaintiff Kyle Donovan in the above-captioned matter. I am
writing to respectfully request a pre-motion conference regarding Plaintiff’s
proposed motion to amend the Verified Complaint to include additional state and
federal claims.

        Plaintiff filed the Complaint on August 2, 2018 alleging racial
discrimination in violation of Plaintiff’s Fourteenth Amendment rights pursuant to
42 U.S.C. § 1983. Plaintiff now seeks to amend its pleading, pursuant to Federal
Rule of Civil Procedure 15(a)(2), to include state law claims under New York
Executive Law § 296(5)(a)(1) and New York Administrative Code § 8-107(5)(1),
as well as an additional federal claim pursuant to 42 U.S.C. § 3604(a).

        Plaintiff requested Defendant’s written consent to amend the pleadings on
November 28, 2018 and was denied. In light of Defendant’s recently filed
Motion to Dismiss, we believe the inclusion of these additional claims is of
particular significance. We respectfully request that a pre-motion conference be
scheduled regarding this matter at Your Honor’s earliest convenience.




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    Thank you for your continued attention to this matter.

                                         Respectfully,

                                         T. Bryce Jones




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